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 6 Attorneys for Plaintiff
   United States of America
 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
11 UNITED STATES OF AMERICA,                             2:18-CR-0001-MCE
12                                Plaintiff,             STIPULATION AND ORDER TO CONTINUE
                                                         STATUS CONFERENCE
13                          v.
                                                         Date: August 2, 2018
14 TONY ACOSTA ALVAREZ, and                              Time: 10:00 a.m.
   LIONEL ORNELAS, aka LIONEL ORNELUS,                   Judge: Hon. Morrison C. England, Jr.
15
                         Defendants.
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18          Plaintiff United States of America, through its respective counsel, and defendants Tony Acosta

19 Alvarez and Lionel Ornelas, through their counsel of record, stipulate that the status conference currently

20 set for August 2, 2018, be continued to September 6, 2018, at 10:00 a.m.
21          On January 4, 2018, Mr. Alvarez and Mr. Ornelas were both arraigned on the twenty-nine-count

22 Indictment in this case. (ECF No. 21.) Since that time, the United States has produced 300-plus pages
23 of discovery to each defendant, which includes the defendants’ criminal histories, three complete search
24 warrant packages from December 19, 2017 (the day each man was arrested at his home), and all of the
25 investigative packages (i.e., pen-trap and § 2703(d) packages) submitted to the Court during the lifespan
26 of this 8-month investigation. The government is now preparing for the defense additional materials,
27 which include several hundred pages of reports prepared in connection with this case, as well as several
28 dozen audio and video recordings from surveillance. Defense counsel will require additional time to

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30    CONFERENCE
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 1 review these new materials, as well as the materials already produced, to discuss them their clients, to
 2 conduct additional investigation, and to otherwise prepare for trial.
 3          Based on the foregoing, the parties stipulate that the status conference currently scheduled for

 4 August 2, 2018, be continued to September 6, 2018, at 10:00 a.m. The parties further agree that time
 5 under the Speedy Trial Act should be excluded from the date the parties stipulated, up to and including
 6 September 6, 2018, under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and
 7 General Order 479 [Local Code T4], based on continuity of counsel and defense preparation.
 8          The parties agree that the failure to grant a continuance in this case would deny defense counsel

 9 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.
10 The parties also agree that the ends of justice served by the Court granting the requested continuance
11 outweigh the best interests of the public and the defendants in a speedy trial.
12                                                        Respectfully submitted,

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14 Dated: July 31, 2018                                   _/s/ Timothy H. Delgado____________
                                                          TIMOTHY H. DELGADO
15                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff United States
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     Dated: July 31, 2018                                 _/s/ THD for Michael Petrik, Jr.______
18                                                        MICHAEL PETRIK, JR.
                                                          Assistant Federal Defender
19                                                        Attorney for Defendant Tony Acosta Alvarez
20
21 Dated: July 31, 2018                                   _/s/ THD for Tasha Paris Chalfant____
                                                          TASHA PARIS CHALFANT
22                                                        Attorney for Defendant Lionel Ornelas
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 1                                                      ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. It specifically finds that the failure to
 4 grant a continuance in this case would deny counsel reasonable time necessary for effective preparation,
 5 taking into account the exercise of due diligence. The Court also finds that the ends of justice served by
 6 granting the requested continuance outweigh the best interests of the public and the defendants in a
 7 speedy trial.
 8          Time from the date the parties stipulated, up to and including September 6, 2018, shall be

 9 excluded from computation of time within which the trial in this case must be commenced under the
10 Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General
11 Order 479 [Local Code T4]. It is further ordered that the August 2, 2018 status conference be continued
12 until September 6, 2018, at 10:00 a.m.

13          IT IS SO ORDERED.

14 Dated: August 2, 2018
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      STIPULATION AND ORDER TO CONTINUE STATUS              3
30    CONFERENCE
